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                                                     5   Attorneys for Defendant
                                                         ARICELA VILLA
                                                     6

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                                                     8                                   IN THE UNITED STATES DISTRICT COURT

                                                     9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                    10

                                                    11   UNITED STATES OF AMERICA,                             Case No. 2:07-CR-515-07 WBS

                                                    12                      Plaintiff,                         STIPULATION AND
B ARTH T OZER & D ALY LLP




                                                                                                               [PROPOSED] ORDER
                        S ACRAMENTO , C ALIFORNIA




                                                    13             v.
                            A TTORNEYS A T L AW




                                                    14   ARICELA VILLA,                                        Date: August 12, 2013
                                                                                                               Time: 9:30 a.m.
                                                    15                      Defendant.                         Judge: Honorable William B. Schubb

                                                    16

                                                    17             It is hereby stipulated and agreed to between the United States of America through

                                                    18   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                    19   Kresta Nora Daly, that the sentencing set for August 12, 2013 be vacated and that a new

                                                    20   sentencing date be set for September 30, 2013 at 9:30 a.m.

                                                    21             The parties further agree that formal objections to the pre-sentence report may be filed no

                                                    22   later than August 30, 2013.

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                                                                 STIPULATION AND [PROPOSED] ORDER                                    [Case No. 2:07-CR-00515-WBS]
                                                          Case 2:07-cr-00515-WBS Document 370 Filed 08/09/13 Page 2 of 2


                                                     1
                                                         Dated: August 8, 2013.                  Respectfully submitted,
                                                     2
                                                                                                 BARTH TOZER & DALY LLP
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                                                     4
                                                                                                 By    /s/ Kresta Nora Daly
                                                     5                                                 KRESTA NORA DALY
                                                                                                 Attorneys for ARICELA VILLA
                                                     6

                                                     7
                                                         Dated: August 8, 2013.                  By     /s/ Kresta Nora Daly
                                                     8                                                  MICHAEL BECKWITH
                                                                                                        Assistant United States Attorney
                                                     9

                                                    10                                                ORDER

                                                    11                   IT IS SO ORDERED.

                                                    12   Dated: August 9, 2013
B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




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                            A TTORNEYS A T L AW




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                                                              STIPULATION AND [PROPOSED] ORDER                                     [Case No. 2:07-CR-00515-WBS]
